                             Exhibit A
Case 2:19-cv-00027-D-BR Document 1-1 Filed 02/07/19   Page 1 of 6 PageID 34
Case 2:19-cv-00027-D-BR Document 1-1 Filed 02/07/19   Page 2 of 6 PageID 35
Case 2:19-cv-00027-D-BR Document 1-1 Filed 02/07/19   Page 3 of 6 PageID 36
Case 2:19-cv-00027-D-BR Document 1-1 Filed 02/07/19   Page 4 of 6 PageID 37
Case 2:19-cv-00027-D-BR Document 1-1 Filed 02/07/19   Page 5 of 6 PageID 38
Case 2:19-cv-00027-D-BR Document 1-1 Filed 02/07/19   Page 6 of 6 PageID 39
